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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEN'NESSEE

,~..v,~
dathw 45

 

MARISSA MILLER, A Minor By and
Through Her Mother, And Next
Friend, MIRANDA MILLER

 

)

)

)

)

Plaintiffs, ) Case No. 03-2701 Ml V
)

vs. )

)

JOHN DACUS, M.D. )
)
)

Defendant

 

ORDER ON TAXATION OF COSTS

 

Taxation of costs is governed by 28 U.S.C. § 1920, and the
costs taxable under this section “shall be allowed as of course
to the prevailing party unless the court otherwise directs” or
unless a statute or rule otherwise provides. Fed.R.Civ.P
54(d)(1). John Dacus, M.D., Defendant, was the prevailing party
in this cause. As such, Defendant did on May 11, 2005 file a
Cost bill totaling $31,454.47 for process services fees, court
reporter fees and the cost of deposition transcriptions, witness
fees and printing and copy costs.

Notice was given to permit these parties opportunity to be
heard at a taxation hearing scheduled in Memphis, TN, on Friday,
May 20, 2005 at 9:30 a.m. regarding the assessment of costs
pursuant to Local Rule 54.1(b).

As a result of Defendant’s claim and based on matters
reflected in the file, costs are taxed against Plaintiffs and in

favor of Defendant as follows:

Th?s document entered on the docket sheet in compliance
with Ru|e 58 and/or 79{a} FRCP Gn ’

 

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CLAIM AWARD
Process service fees $ 520.00 $ 180.00
Deposition costs $14,820.22 $13,085.70
Witness fees $10,900.83 $10,900.83
Copy/printing costs $ 5,213.42 S 2,202.08
TOTAL $31,454.47 $26,368.61

Fees for Service of Summons and Subpoena:

Pursuant to 28 U.S.C. §l92l, the prevailing party is
entitled to recover the sum paid to a private process server to
serve subpoenas, as long as the amount charged does not exceed
that which would be charged by the United States Marshal.
Arrambide v. Wal-Mart Stores, Inc., 33 Fed.Appx. 199, No. 00-
6272, 2002 WL 531137, **(6th Cir. April 4, 2002). Under l921(b),
the Attorney General is permitted to prescribe by regulation the
fees which will be charged by the Marshal's Service to serve
subpoenas and other process. Those regulations currently provide
the United States Marshal Service charges $45.00 per hour to
serve subpoenas. mee 28 C.F.R. §0.114.

However, the Clerk‘s ability to assess costs is wholly
dependent on discernable documentation to support this claim. In
this instance, it is unclear from the documentation provided how
defendant arrived at the cost claimed. The Clerk will rely on
the standard fee employed by the United States Marshal for
serving process. Because the record does not provide, with any
specificity, the computable mileage traveled in serving or

endeavoring to serve in behalf of the Defendant, it is impossible

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to award mileage costs. This deficiency in the record requires
that the amount awarded be restricted to a sum supportable by the
record.

Deposition fees:

Title 28, Sections 1920(2) and (4) declare that the cost of
taking and transcribing depositions and transcripts, and the cost
of purchasing copies of depositions may be taxed if the
depositions were “necessarily obtained for use in the case.”
Thus, if the depositions are “reasonably necessary to the
prosecution of the action," and not "merely useful for
discovery," the costs are appropriately taxed. Ramos v. Lamm,
713 F.2d 546, 560 (10th Cir. 1983); Sales v. Marshall, 873 F.2d
115, 120 (6thCir. 1989}; Independent Iron Works, Inc. v. U.S.
Steel Corp.¢ C.A. Cal. 1963, 322 F.2d 656, certiorari denied 84
S. Ct. 267, 375 U.S. 922.

A deposition does not have to be used as evidence to be
taxed as an expense. “When a deposition is not actually used at
trial or as evidence on some successful preliminary motion,
whether its cost may be taxed generally is determined by deciding
if the deposition reasonably seemed necessary at the time it was
taken.” 10 Charles Allen Wright et al, Federal Practice and
Procedure: Civil 2d §2676, at 341(2d ed. 1983); see also §Ql§§,
873 F.2D at 120 (“Necessity is determined as of the time of
taking, and the fact that a deposition is not actually used at

trial is not controlling.”), and Shanklin v. Norfolk Southern

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Railway Co.l No. 94-1212 {W.D. Tenn. Sept. 9, 1996) relying on
Hudson v. Nabisco Brands, Inc., 758 F.2d 1237, 1243 (7th Cir.
1985); In re Air Crash Disaster, 687 F.2d 626, 631 (2d Cir.
1982).

The determination of necessity must be made in light of the
facts known at the time of the deposition, without regard to
intervening developments that later render the deposition
unneeded for further use. §e§ Wright et al., supra, §2676, at
341-44; Zotos v. Lindberqh Sch. Dist., 121 F.3d 356, 363 (8th
Cir. l99'7) .

In support of this tax claim, Defendant’s bill includes
copies of the court reporters’ invoices detailing reporter fees
and deposition transcript charges incurred. The record also
reflects Defendant procured videographic depositions. Costs
associated with videotaping or transcribing a deposition may be
taxed. Barber V. Ruth, 7 Rd3d 636, 645 (7wCir.1993). Section
1920 permits taxing as costs of the “[f]ees of the court reporter
for all or any part of the stenographic transcript necessarily
obtained for use in the case.” 28 U.S.C. §1920(2) Although
this provision makes no specific mention of video depositions,
Federal Rule of Civil Procedures 30(b)(2), provides the party
taking a deposition the choice of alternative means for recording
testimony, which, “unless the court orders otherwise,” may

include “by sound, sound-and-visual, or stenographic means.”

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Since Federal Rule of Civil Procedure 32(c) compels a party
to provide a transcript and a videotape if a videotape deposition
is to be used, Defendant is not required to show an independent
use for each. Thus, both the cost of a transcript and a
videotape may be taxed, and Defendants may recover the cost of
videotaping the depositions. Defendant is disallowed, however,
the additional costs of digitizing and synchronizing the video
depositions.

Defendant’s deposition claim is allowed, save for the
administrative costs(digitization, condensed transcripts,
shipping, postage and handling) charges which are classified as a
business cost, borne for convenience of counsel, and are
therefore not taxable. The administrative costs have been culled
from the award.

Witness fees:

Except as otherwise provided by law, a witness in attendance
at any court of the United States, or before any person
authorized to take his deposition, shall be paid the fees and
allowances provided by 28 U.S.C. § 1821. Moreover, witness fees
are properly includable as costs of trial, pursuant to 28 U.S.C.
§ 1920(3), as they “compensate witnesses for their availability
and readiness to testify rather than for actual testimony.”
American Nat'l Bank and Trust Co. of Chicago, 38 F.3d 1429, 1442

{7th Cir.1994) (citing Spanish Action Comm. of Chicago v. City of

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Chicago, 811 F.2d 1129, 1138 (7th Cir.1987)). The Federal Rules
prescribe a witness attendance fee as $40 per day and require
witnesses who travel to do so at the most economical rate
reasonably available. 28 U.S.C. § 1821(c)(1) specifically
provides that “a witness who travels by common carrier shall be
paid for the actual expenses of travel on the basis of the means
of transportation reasonably utilized and the distance
necessarily traveled to and from the place of attendance.”

Defendant seeks to tax the travel costs of witnesses,
several of whom traveled by airplane. The expenses of travel by
airplane are taxable. See Trepel v. Roadway Express, Inc., 266
F.3d 418, 425-426 (6th Cir. 2001). Witnesses who traveled by
privately owned vehicle are entitled to mileage at the current
rate of 40.5 cents per mile. Incidental expenses, such as for
parking fees, toll roads, etc., are also taxable, as they are
included as part of “the actual expenses of travel.”

As the record adequately supports the witness fees and
travel costs incurred by Defendant, these costs are taxable in
total.

Copy fees:

Where records or papers are copied by counsel for prevailing
party in preparation for trial, their costs may be recovered,
pursuant to 28 U.S.C. § 1920(4), which provides that fees for

exemplification and copies of papers necessarily obtained for use

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in case, may be taxed as costs. Meadows v. Ford Motor Co. (1973,
WD Ky) 62 FRD 98, 5 BNA FEP Cas 665, on remand (WD Ky) 11 BNA FEP
Cas 1047 and Cert den 425 US 998, 48 L. Ed 2d 823, 96 S Ct 2215,
12 BNA FEP Cas 1335.

Taxable copy costs permitted under 28 U.S.C. § 1920
contemplate copies reasonably necessarily for use in the case,
but not for the convenience of attorneys. Independence Tube Corp.
v. Copperweld Corp.,D.C.111.1982, 543 F.Supp. 706.

Defendant seeks to tax $5,213.42 to recover the costs of
printing records and reproduction necessary for the case.
Defendant's reimbursement claim is granted insofar as the record
details the material copied, such as it does with the duplication
of X-rays, and the procurement of medical records. The bulk of
the copy reimbursement is denied due to insufficiency of the
record to demonstrate these costs as reasonably necessary to the
case and not for the convenience of counsel or the routine costs
of doing business. While the requested reimbursement ostensibly
represents the costs of photocopies made during the course of
litigation, the several summary invoices which categorize
individual copy jobs as “Grade D Heavy Litigation” and “Grade A
Straight Run,” with associated copy fee totals, provide no
information about what was copied or how these copies were used.
Taxable copy costs permitted under 28 U.S.C. § 1920 contemplate

copies reasonably necessarily for use in the case, but not for

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the convenience of attorneys. Independence Tube Corp. v.

Copperweld Corp.,D.C.Ill.1982, 543 F.Supp. 706. Because the
copying of papers is largely undocumented in this cost billr the
claim for the copying of papers is reduced. §ee Zapata Gulf
Marine Corp. V. Puerto Rico Maritime Shipping Authoritv, E. D.

La. 1990, 133 F.R.D. 481.

TOTAL AWARD §26¢368.61

Pursuant to Fed.R.Civ.P. Rule 54(d), the taxation of costs
by the Clerk may be reviewed by the court upon motion, served

within 5 days of the docketing of this order.

 

ROBERT R. DI T OLIO, CLERK

SRICT OF TENN

       

UNDITE sTAETs DISRTIC COURT - ESTERN 1 ESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 318 in
case 2:03-CV-02701 Was distributed by fax, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

Rcbert Di Trolio

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